     Reset FormCase       2:21-cr-00464-MWF UNITED STATES
                                             Document 15 DISTRICT  COURTPage 1 of 2 Page ID #:40
                                                          Filed 10/01/21
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE SUMMARY                                       10/1/2021
        Case Number        2:21-cr-00464-MWF                                          Defendant Number 1                    JB


        U.S.A. v. DANIEL WAYNE HOLLINGSWORTH                                          Year of Birth 1973
         ✔   Indictment                      Information                 Investigative agency (FBI, DEA, etc.) USSS

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                  PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                       A complaint/CVB citation was previously filed on: /2021
                                                                               Case Number: 2:21-mj-4298
     Class A Misdemeanor          Minor Offense        Petty Offense
                                                                               Assigned Judge:     DUTY
     Class B Misdemeanor          Class C Misdemeanor      ✔   Felony
                                                                               Charging: 18 U.S.C. § 115(a)(1)(B), 18 U.S.C. §§ 111(a)(1)
b. Date of Offense 09/14/2021
                                                                               The complaint/CVB citation:
c. County in which first offense occurred
                                                                                    ✔ is still pending
Los Angeles                                                                               was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                     PREVIOUS COUNSEL
                                                                               Was defendant previously represented?             No    ✔    Yes
       ✔ Los Angeles                  Ventura
                                                                               IF YES, provide Name:       Anuj Nadadur
             Orange                        Santa Barbara
                                                                                       Phone Number: 213-894-2911
             Riverside                     San Luis Obispo
                                                                               COMPLEX CASE
             San Bernardino                Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                        Yes*        ✔ No
Citation of Offense PC 245(a)(4); PC 203; PC 243(c)(2)
                                                                               Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
                                                                                       Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                        *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                               OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                               CHECKED.
     Eastern (Riverside and San Bernardino)         Southern (Orange)
                                                                               SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                   IS THIS A NEW DEFENDANT?               Yes    ✔   No

Has an indictment or information involving this defendant and                  This is the n/a     superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                 The superseding case was previously filed on:
filed and dismissed before trial?
                                                                               n/a
        ✔ No          Yes
                                                                               Case Number n/a
        If "Yes," Case Number:
                                                                               The superseded case:
Pursuant to General Order 21-01, criminal cases may be related
if a previously filed indictment or information and the present                   is still pending before Judge/Magistrate Judge
case:                                                                          n/a
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                              was previously dismissed on n/a

    b. involve one or more defendants in common, and would                     Are there 8 or more defendants in the superseding case?
       entail substantial duplication of labor in pretrial, trial or                    Yes*           No
       sentencing proceedings if heard by different judges.                    Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                        Yes*            No
CASE): n/a
                                                                               Was a Notice of Complex Case filed on the Indictment or
                                                                               Information?
                                                                                        Yes            No
                                                                               *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                               MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                               FILED IF EITHER "YES" BOX IS CHECKED.
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                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES      ✔   NO                           Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint:
                                                                              b. Posted bond at complaint level on:
                                                                                   in the amount of $
OTHER                                                                                                                No
                                                                              c. PSA supervision?          Yes
 ✔   Male               Female                                                d. Is on bail or release from another district:
 ✔   U.S. Citizen       Alien
Alias Name(s)                                                                 Defendant is in custody:
                                                                              a. Place of incarceration:         State    ✔   Federal
This defendant is charged in:                                                 b. Name of Institution: Metropolitan Detention Center
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:                                                            BOP: 65462-509
                                                                              d.   ✔   Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per                            9/16/2021 11:45 a.m.
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:             Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State              Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                          Yes     ✔   No                      f. Awaiting trial on other charges:         Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?          Yes     ✔   No                            IF YES :     State        Federal         AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                   This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                      tax offenses
     environmental issues                  mail/wire fraud
 ✔   narcotics offenses                    immigration offenses
 ✔   violent crimes/firearms               corporate fraud
     Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date      09/30/2021
                                                                            Signature
                                                                              gnature of Assistant U.S. Attorney
                                                                            Rachel N. Agress
                                                                            Print Name
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